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 9
                                    UNITED STATES DISTRICT COURT
10
                                           DISTRICT OF NEVADA
11
                                             Northern Division
12

13    SECURITIES AND EXCHANGE                          Case No. 3:16-cv-00270-MMD-VPC
      COMMISSION,
14                                                     Honorable Miranda Du
                      Plaintiff,
15
                vs.
16                                                     STIPULATION FOR ENTRY OF FINAL
      DAVID B. KAPLAN, ESQ.,                           JUDGMENT AGAINST RELIEF
17    SYNCHRONIZED ORGANIZATIONAL                      DEFENDANT LISA M. KAPLAN
      SOLUTIONS, LLC,
18    SYNCHRONIZED ORGANIZATIONAL
      SOLUTIONS INTERNATIONAL, LTD.,
19    and MANNA INTERNATIONAL
      ENTERPRISES, INC.,
20
                      Defendants,
21
                and
22
      LISA M. KAPLAN,
23    THE WATER-WALKING
      FOUNDATION, INC., and
24    MANNA INVESTMENTS, LLC,

25                    Relief Defendants.

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27          IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned parties, as
28   follows:
           Case 3:16-cv-00270-MMD-VPC Document 96 Filed 01/08/18 Page 2 of 3



 1          1.      The United States Securities and Exchange Commission (the “Commission”) and

 2   Relief Defendant Lisa M. Kaplan (“Relief Defendant,” and together with the Commission, the

 3   “Parties”) jointly move this Court to enter final judgment against Relief Defendant. The Parties

 4   have reached a settlement, and jointly move this Court to enter the proposed final judgment and

 5   resolve this matter.

 6          2.      The Parties have reached a settlement to resolve all claims against Relief Defendant.

 7   The settlement includes: (1) disgorgement; and (2) prejudgment interest.

 8          3.      A proposed final judgment as to Relief Defendant is attached as Exhibit A. Among

 9   other things, the proposed final judgment orders Relief Defendant to pay disgorgement in the

10   amount of $340,764.75, plus prejudgment interest thereon in the amount of $26,762.65.

11          4.      Relief Defendant shall partially satisfy this obligation through the transfer of

12   balances held in the frozen accounts after entry of this Final Judgment, as set forth in sections II to

13   V of Exhibit A.

14          5.      Without either admitting or denying the allegations of the complaint in this action,

15   Relief Defendant has consented to the entry of the proposed final judgment, as reflected in the

16   Consent attached as Exhibit B.

17          6.      The settlement brings the litigation to a close, without the need for a trial, and thus

18   conserves the resources of the Court and the Parties.

19          7.      The Parties agree that entry of the proposed final judgment is in the public interest,

20   and is a fair and reasonable resolution of this matter. See SEC v. Citigroup Global Markets, Inc.,

21   752 F.3d 285 (2d Cir. 2014).

22          8.      The Parties respectfully request the entry of final judgment at the Court’s earliest

23   convenience.

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           Case 3:16-cv-00270-MMD-VPC Document 96 Filed 01/08/18 Page 3 of 3



 1          WHEREFORE, for the foregoing reasons, the parties jointly move this Court for entry of

 2   final judgment against Relief Defendant.

 3   Date: January 8, 2018

 4

 5   /s/ Alyssa A. Qualls___                               /s/ Lisa M. Kaplan
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 9
     Counsel for Plaintiff United States Securities
10   and Exchange Commission
11

12   IT IS SO ORDERED:

13   ________________________________
     The Honorable Miranda Du
14   United States District Judge                                Dated: _______________________
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